        Case 8:17-cv-02147-DOC-DFM Document 16 Filed 03/08/18 Page 1 of 4 Page ID #:60

 Name and address
                               Neil ], McNabnay
                          FISH & RICHARDSON P,C,
                          L7L7 Main Street, Suite 5000
                               Dallas, TX 75201
        Telephone: (512) 472-5070 I Facsimile: (512) 320-8935

                                                    UNITED STATES DISTRICT COURT
                                                   CENTRAL DISTRICT OF CALIFORNIA

                                                                                    CASE NUMBER
 WOBBLEWORKS,INC.,
                                                               Plaintiff(s),                        8rl 7-CV-02147-DOC {DFtuk)

                      v
                                                                                      APPLICATION OF NON-RESIDENT ATTORI.IEY
 DITEC SOLUTIONS, LLC,                                                                      TO APPEAR IN A SPECIFIC CASE
                                                             Defendant(s),                         PRCiHACVICE
INSTRUCTIONS FOR APPLICANTS
(l)           The attorney seeking to appear pro hac vice must complete Section I of thk Application, personally sign, in ink, the certification in
              Section II, a4d have the designated Local Counsel sign in Section I/L EIECTRONIC SIGNdTURES,4RE NOT ACCEPTED,
              Space to supplement responses is provided in Section IV. The applicant must also attach a Certificate of Good Standing (issued
              within the last 30 days) from every state bar to which he or she is admitted; failure to do so will be grounds for denying the
              Applicatian. Scan the completed Application with its original ink signatulre, together with any attachment(s), to a single Portable
              Document Format (PDF) file.
(2)           Have the designated Local Counselfile the Application electronically (using the Court's CM|ECF System), attach a Proposed Order
              (using Form G-64 ARDER, available from the Court's website), and pay the required $325 fee online at the time offiling (using a
              credit card). The fee is required for each case in which the applicant files an Application, Failure to pay the fee at the time of filing
           will be grounds for denying the Applicatian. Out-of-state federal governnent qttorneys qre not required to pay the $325 fee,
           (Certainattorneysfarthellnitedstatesareclsoexemptfromtherequirementafapplyingforprohacvicestatus.               SeeL,R.83-2.1.4,)
           A copy of the G-64 ORDER in Word ar WordPerfect format must be emailed to the generic chqmbers emsil address. L.R. 5-4.4.2.
SECTION I - INFORMATTON
McNabnay, Neil I.
Applicant's Nawe (Last Name, First Name 6 Middle Initial)                                                check here iffederal government attorney          E
 FISH & RICHARDSON P,C.
FirmlAgency Name

 1717 Main Street                                                              (2t4) 747-sA7o                          (2r4) 747-209r
                                                                               Telephone Number                        Fax Number
Suite 5000
Street Address

Dallas, TX 75201                                                                                       mcnabnay@fr.com
City,   State,   Zip Code                                                                                  E-mail Address

I have been retained to represent the following patties:
Ditec Solutions, LLC                                                           )    Plaintffis) @ Defendant(s)   I    Other:

                                                                               fl   Plaintffis) I Defendant(s)   f,   Other:

Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status ofhis or
her membership, Use Section IV if more room is needed, or to provide additional information.

                      Name of   Court,                         Date ofAdmission Active Member in Good Standing?                ftf   not. Please   explain)
State Bar of       Texas                                          LIl07lL997 Yes
USDC Northern District of Texas                                   0Ur3lt998               Yes

USDC Southern District of Texas                                   r2ltll20at              Yes


a-64 (6lt6l                     APPLICATION OF NON.RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                                     Page   I of3
           Case 8:17-cv-02147-DOC-DFM Document 16 Filed 03/08/18 Page 2 of 4 Page ID #:61


List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section     IVif
needed):
       Number
           Qase                                           T-itle of Action                         Date of Apllication Granteel I Dsnled?
2:16cv03040-MRW                     Colt International Inc. v. Quasar Science LLC, et al           A5108116           Granted - PHV

2:I7cv03770-JAK                       Eric Lyon and Ryan Murphey v Kate Spade &          Co        10lI2lL7                        Granted - PHV




lf   any   pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:




Has the applicant previously registered as a CM/ECF user in the Central District of       California? ffi Yes U                      No

If yes, was the applicant's CM/ECF User account associated        with the e-mail address provided above? [] Yes f,                  No

                                                                                                         mcnabnay@fr.com
                                                                                                 Previous E-mail U sed (if applicable)


Attorneys must be registered for the Court's Case Management/Electronic Case Filing ('CM/ECF") System to be admitted to practice pro hac
yice in this Court. Submission of this Application will canstitute your registration (or re-registration) as a CM/ECF User, If the Court signs an
Order granting your Application, you will either be issued a new CM/ECF login and password, or the existing nccount you identified above
will be associatid ,ith you, case. Pursuant to Local RuIe 5-3.2,3, registering as a CM/ECF User is deemed consent, far purposes of Fed. R. Cit.
p, S(b)(2)(E), to electronic service of documents through the CM/ECF System. You have the right to withhold or revoke your consent ta
electronic seryice at any time; simply complete and return a Central District Electronic Service Exemption Farm (Form G'05, available from
the Court's website). Ij the Court riceiyes an Electronic Service Exemption Form Jrom you, you will no longer receive notice by e-aail when
Court orders or othei documents are          in cases in which you are counsel of record; instead, copies of such docuwents will be sent to you
                                          fled
thraugh the mail,

SECTION II - CERTIFICATION
I declare under penalty of perjury that:
(l) All of the above information is true and correct,
(2) I am not a resident of the State of California. I am not regularly employed in, or engaged in substantial          business,
      professional, or other activities in the State of California'
(3)   I am not currently suspended from and have never been disbarred from practice in any court.
(4)   I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and Criminal Procedure,
      and the Federal Rules ofEvidence.
(5) I designate   the attorney listed in Section III below, who is a member in good standing of the Bar of this Court and
      maintains an office in the Central District of California for the practice of law, as local counsel Pur$uant to Local
      Rule 83-2.1.3.4.


                  Dated 03/08/2018                                           Neil l. McNabnay
                                                                                     s      (please type or   print)




G-54 (6/r6)                    APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPBCIFIC CASE              PRO HAC VICE                  Page   2 of3
        Case 8:17-cv-02147-DOC-DFM Document 16 Filed 03/08/18 Page 3 of 4 Page ID #:62



SBCTION ITI - DESIGNATIPN OF LPCAT COUNSEL
Frei, Ryan L.
Designee's Name (Lest Name, First Name   6 Middle Initial)
FISH & RICHARDSON P.C.
Firm/Agency Name
                                                                    (213) 533-4240                             (8s8) 678-s09e
633 West 5th Street
                                                                    Telephane Number                           FaxNumber
26th Floor
Street Address
                                                                    rfrei@fr.com
                                                                    E-mail Address
Los Angeles, CA 90071
City, State, Zip Code                                               310722
                                                                    Designee's   Califurnia   State   Bar Number


I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain       an office   in the
Central District of California for the practice of law.

              ,^r,o   /fl,*!n       l-D g                           Ryan L. Frei
                                                                                 Name (please type or print)



                                                                                 Signature

SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDTTTONAL PAGES IF NECESSARYI

  USDC Eastern District of Texas - Admitted 12107 1200I - Yes, I am a member in good standing

  USDC Western District of Texas - Admitted 041A4120A2 - Yes,I am a member in good standing

  USDC Western District of Michigan - Admitted 08/08/2006 - Yes, I am a member in good standing

  USDC Northern District of Illinois - Admitted 0812612013 - Yes, I am a member in good standing

  USCA Federal Circuit - Admitted AXXXXXXXX - Yes, I am a member in good standing

  USDC Eastern District of Michigan - Admitted I0l1412016 - Yes,I am a member in good standing

  USDC Western District of Wisconsin - Admitted O4l17 nA17 - Yes, I am              a   member in good standing


  USDC Western District of Wisconsin - Admitted        04ll7nAV      - Yes, I am a member in good standing


  USDC Eastern District of Wisconsin - Admitted        0Sllilz}fi   - Yes,   I am a member in good standing




G-64 (6/16)              APPLICATION OF NON.RESIDENT ATTORNEY TO APPBAR IN A SPECIFIC CASE PRO HAC YICE                                Page 3   of3
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                 STATE BAR OF TEXAS


 Office of the Chief Disciplinary Counsel

 March 08, 2018



 Re: Mr. Neil Joseph McNabnay, State Bar Number 24002583


 To Whom It May Concern:

 This is to certify that Mr. Neil Joseph McNabnay was licensed to practice law in Texas on November
 07, 1997, and is an active member in good standing with the State Bar of Texas. "Good standing"
 means that the attorney is current on payment of Bar dues; has met Minimum Continuing Legal
 Education requirements; and is not presently under either administrative or disciplinary suspension
 from the practice of law.


 This certification expires 30 days from the date, unless sooner revoked or rendered invalid by
 operation of rule or law.


 Sincerely,




 Linda A. Acevedo
 Chief Disciplinary Counsel
 LA/web




    P.O. BOX 12487, CAPITOL STATION, AUSTIN, TEXAS 78711-2487, 512.427.1350; FAX: 512.427.4167
